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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


  DAVID E. MACK,                                 §
                                                 §
                                                 §    CIVIL ACTION NO. 4:18-CV-006-ALM-
                 Plaintiff,                      §                  CAN
                                                 §
  v.                                             §
                                                 §
  EXPERIAN INFORMATION SOLUTIONS,                §
  INC., ET AL.,                                  §
                                                 §
                                                 §
                 Defendants.


                                           ORDER

        Currently pending before the Court are Plaintiff’s Motion to Strike Defendant Experian

 Information Solutions, Inc.’s Affirmative Defenses [Dkt. 13], Defendant Trans Union LLC’s

 Motion to Dismiss Plaintiff’s Complaint [Dkt. 16], and Plaintiff’s Second Motion to Strike

 Equifax’s Affirmative Defenses [Dkt. 23]. The Court hereby sets each of these pending motions

 for hearing on Wednesday, March 21, 2018 at 2:00 p.m. at the United States Courthouse Annex,

 200 N. Travis Street, Sherman, Texas before the undersigned. Plaintiff and counsel for each of

 Defendants are directed to appear. The Parties are directed to meet and confer on Wednesday,

 March 21, 2018 at 1:30 p.m. at the United States Courthouse Annex in advance of hearing to

 determine if any of the issues in the Motions can be resolved without the necessity of Court

 intervention.

        IT IS SO ORDERED.
        SIGNED this 9th day of March, 2018.




                                  ___________________________________
                                  Christine A. Nowak
                                  UNITED STATES MAGISTRATE JUDGE
